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                       UNITED STATES DISTRICT COURT

                          DISTRICT OF CONNECTICUT


NICOLE CHASE                                       NO.: 3:18-cv-00683 (VLB)

v.
NODINE'S SMOKEHOUSE, INC., CALVIN
NODINE, TOWN OF CANTON, JOHN
COLANGELO, ADAM GOMPPER, MARK J.
PENNEY AND CHRISTOPHER ARCIERO                     OCTOBER 1, 2019


                 AFFIDAVIT OF DETECTIVE JOHN COLANGELO
             IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

      I, John Colangelo, having been duly sworn, hereby depose and say:

1.    I am over eighteen (18) years of age.

2.    I believe in the obligation of an oath and make the statements within this
      affidavit based upon my own personal knowledge.

3.    I am familiar with the allegations made against me by Nicole Chase.

4.    I was at all relevant times and currently am a Police Officer with the
      Canton Police Department, with the rank of Detective. At all relevant
      times, I had over twenty-four (24) years of experience and training as a
      certified police officer in the State of Connecticut.

5.    At some point in mid-May of 2017, I was asked to assist Officer Adam
      Gompper with the investigation of Nicole Chase's complaint concerning
      Calvin Nodine. At that time, I reviewed the police case file (police case
      number 1700004762), including Officer Gompper's police reports and
      written witness statements, he had obtained in his investigation of the
      case.




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6.     I discussed the case with Adam Gompper who briefed me on the status of
       the investigation and Nicole Chase's complaint. I asked Adam Gompper,
       at this time, if he had sworn Chase to her written statement and he
       confirmed to me that he had.

7.     Prior to my involvement and review of the case file, it had been decided
       that Calvin Nodine needed to be interviewed and that I would assist Adam
       Gompper with the interview.

8.     Officer Adam Gompper contacted Calvin Nodine and arranged a time for
       him to come to the Canton Police Department ("CPD") and be interviewed.
       On May 18, 2017, Calvin Nodine presented to the CPD with his attorney,
       David Moraghan, per this arrangement.

9.     On May 18, 2017, I along with Adam Gompper interviewed Calvin Nodine
       in the presence of his attorney, David Moraghan. The interview was video
       and audio recorded on a Liberty Recording System, version 2.6, and
       maintained by the CPD in the police case file.

10.    A true and accurate copy of the video and audio recording of the interview
       of Calvin Nodine, obtained on May 18, 2017, is attached to the Defendants'
       Local Rule 56(a)1 Statement as Exhibit N.

11.    After formally introducing myself to Calvin Nodine and his attorney and
       engaging in some small talk to put Mr. Nodine at ease and gain a rapport
       with him and his attorney, I began the interview.

12.    I asked Calvin Nodine if he had any complaints or issues with his staff to
       which he responded that he did not.

13.    I then asked Calvin Nodine about Nicole Chase and he said he did not
       know what her deal was or what was going on. He stated that he went
       through a "shit storm" at his business and fired several employees for
       various reasons.

14.    Calvin Nodine further stated to me that he had to completely clean house
       and start from scratch with his staff.




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15.    I then explained to Calvin Nodine that Nicole Chase had complained of
       inappropriate conduct and speech at work and asked him if he had made
       some joke while placing his hand on Chase's back.

16.    Calvin Nodine denied that this had occurred. I then advised Nodine that,
       according to Nicole Chase or another witness, Nodine placed his hand on
       Chase's rear end. Calvin Nodine stated to me, "No, I wouldn't have done
       that."

17.    I then attempted to put Calvin Nodine at ease and gain his trust by telling
       him that I knew he was married and that I was not going to tell his wife
       what he told me. I advised him that some of Nicole Chase's statements
       were corroborated by others in an attempt to get him to tell me the truth.

18.    Calvin Nodine then stated to me, "I got a whole pile of bad shit going on
       and I just fired my whole crew. So you know what, I got a pile of enemies
       right now."

19.    I asked Calvin Nodine how the night ended on May 6, 2017, and he stated
       that he was in the bathroom when the last employees left for the evening.
       He denied that anybody was in the bathroom with him.

20.    Ultimately, I advised Calvin Nodine that Nicole Chase had reported that he
       pulled her into the bathroom and exposed himself to her. Nodine
       responded, "that's bullshit."

21.    After explaining to Calvin Nodine that a witness, Kyle Rouleau, was
       corroborating some of Nicole Chase's version of events, Nodine said that
       he did not know where she was when he was in the bathroom.

22.    I then asked Calvin Nodine why Nicole Chase would say this. Nodine
       responded that he did not know why, that "maybe she thinks the business
       is going down, she's looking for money."

23.    I next suggested that Calvin Nodine could have been involved in a
       consensual encounter with Nicole Chase in a further attempt to elicit the
       truth from him. This is a common technique in interviewing and
       interrogation to mitigate the severity of the conduct and allow a suspect
       to admit to participating in it.



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24.    At this point, Attorney Moraghan asked to speak with Calvin Nodine in
       private. They were shown to a private room where there was no video or
       audio recordings.

25.    Upon returning to the interview room several minutes later, Calvin Nodine
       stated, "All right, look it, I'm going to open this all up." He stated that
       Nicole Chase grabbed him and said, "I have something for you to see."
       Nodine stated that he figured there was a problem in the men's room.

26.    Calvin Nodine stated that Nicole Chase then took his pants down and
       gave him a "blow job." He stated that it all happened so fast and his
       reaction was, "Ok, that fucking happened."

27.    I then pointed out to Calvin Nodine that he was changing his story and did
       not tell us from the beginning what happened. Nodine responded that he
       had worked a long day on the date of the incident and that he was
       protecting himself as this was embarrassing. He said he should have
       stopped Nicole Chase.

28.    I then asked Calvin Nodine what happened after Nicole Chase gave him
       fellatio and he said that Chase told him to walk out first to make sure no
       one was around. Once it was clear, she came out of the bathroom and
       left. I asked Nodine if Chase was a liar and he responded that the incident
       was consensual.

29.    Calvin Nodine was asked to take a polygraph test and, ultimately, Attorney
       Moraghan said that they would discuss it and get back to us.

30.    On June 14, 2017, Calvin Nodine called the police department and spoke
       to me with Officer Gompper also present for the call. Nodine stated that
       he had taken a private polygraph test but did not pass it because he had
       not taken his medication. He said he had a second polygraph test
       scheduled for Monday, June 19, 2017.

31.    On June 19, 2017, I received a fax from Attorney Moraghan stating that
       Nodine would not be submitting to a law enforcement polygraph
       examination.




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32.    On June 21, 2017, Nicole Chase presented to the CPD and was
       interviewed by me. The interview was video and audio recorded on the
       Liberty Recording System and maintained by the CPD in the police case
       file. A true and accurate copy of the video and audio recording of the
       interview of Nicole Chase, obtained on June 21, 2017, is attached to the
       Defendants' Local Rule 56(a)1 Statement as Exhibit 0.

33.    Nicole Chase stated to me that she had ceased working at Nodine's
       Smokehouse, having turned in her key at the Torrington location.

34.    Nicole Chase further stated that she worked her "butt off'' and she
       remembers all of her customers. She said, "I want him to give me his
       restaurant so I can run it right and for him to be gone and to not have the
       name Nodine's. That's how much work I put into this place for this man."

35.    After speaking with Nicole Chase for about an hour, I said to her "what if I
       told you" that Calvin Nodine took two polygraph tests and asked her if
       anything would come out that was truthful that she may have left out or
       forgot about. This was an interview technique I used to get Chase to open
       up by considering what I might know that she did not tell me.

36.    Nicole Chase responded that Calvin Nodine knew she was not "getting
       sex" at home. When I asked how Nodine knew that, Chase explained that
       he overheard her talking to her coworker, Ali, about it. She denied talking
       to Nodine about it directly. I asked her if there was any flirtation between
       her and Nodine to which she responded, "Hell no."

37.    I then told Nicole Chase that if she had consensual contact with Nodine
       that it was very important to the investigation that it is known.

38.    Nicole Chase then became emotional, crying and placing her face in the
       palm of her hands. She stated to me that there was nothing ever
       consensual. She said that when Calvin Nodine pulled her into the
       bathroom and told her to do it, she did it because she did not know what
       to do.

39.    I asked Nicole Chase if she gave Nodine oral sex. Chase responded,
       "Yes." She then said that everything else she told us (myself and Adam
       Gompper) was completely true. She said that she had wanted to come



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       back and tell us this but that she was in fear it would go against her story
       and that she did not want her boyfriend to know.

40.    Nicole Chase further stated to me that she was scared and did not even
       want to tell her own mother about this. She said that she was suicidal and
       had been to the doctor.

41.    Nicole Chase stated that she had spoken to an attorney, but not about
       this, and did not want to come back and tell what really happened
       because she knew it would affect her civil case.

42.    Nicole Chase stated in response to further questioning that she and
       Nodine were standing near the bathrooms when an employee, Kyle, came
       back into the restaurant (who they thought had left). She stated that she
       stayed silent because she did not want Kyle to know and she did not
       know what to do; that she did it to get it over with.

43.    Nicole Chase stated that she and Calvin Nodine were standing in the
       hallway near the bathroom and he had her arm. Nodine did not force her
       into the bathroom but he led her into it by the arm, locking the door
       behind them.

44.    Nicole Chase further stated to me that she wanted to go home and did not
       want to lose her job. As soon as they entered the bathroom she
       performed oral sex on Calvin Nodine as Kyle was calling out for him and
       her.

45.    Nicole Chase stated that she thought if she just did it she could leave and
       would not get hurt. She further stated that Calvin Nodine's wife kept
       calling his cell phone to alert him of a police spot check while they were in
       the bathroom. His wife "kept blowing up his phone," and called at least
       six times before Nodine answered.

46.    Nicole Chase stated that Calvin Nodine leaned against the sink and was
       hard at first but then was not; that Nodine kept bashing her face into his
       "junk."




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47.    I asked Nicole Chase where Nodine's hands were and she said that he
       was "pulling himself up" and demonstrated for me that Nodine had his
       hands in his genital region holding up his genitals.

48.    Nicole Chase stated to me that because Calvin Nodine was so intoxicated
       it took between ten to fifteen minutes for him to finish. She stated that
       Nodine ejaculated into her mouth and that she had thrown out all of her
       clothing.

49.    At this point, I asked Nicole Chase if she wanted to provide a
       supplemental statement. She asked me if it would screw up her civil case.
       I responded that I did not know, that I was not an attorney.

50.    Nicole Chase then stated to me that she wanted to provide a statement so
       the truth is known but did not want her boyfriend and whole family to
       know what happened. I then again told her that she had the opportunity
       to put the truth in writing.

51.    Nicole Chase then acknowledged to me that she was aware that the
       written statement she provided to us was "not the truth" but said she
       wanted to consult with her attorney before providing another written
       statement.

52.    Based upon the facts and evidence obtained throughout the course of the
       investigation of police case number 1700004762, I believed Nicole Chase
       violated Connecticut General Statutes§ 53a-157b, making a false
       statement, where she intentionally made a false written statement that she
       did not believe to be true with the intent to mislead officers of the CPD in
       the performance of their official functions, and made such statement
       under oath.

53.    Thereafter, I submitted an Affidavit and Application for Arrest Warrant for
       the arrest of Nicole Chase for the charge of making a false statement, in
       violation of Connecticut General Statutes § 53a-157b, to the State's
       Attorney's Office. A true and accurate copy of the Affidavit and
       Application for Arrest Warrant is attached to the defendants' Local Rule
       56(a)1 Statement as Exhibit P.




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54.    Based upon my training and experience, I believed I had probable cause
       to believe Nicole Chase committed the crime charged in the warrant.

55.    I did not leave any information out of my affidavit, which would have
       negated, in any way, probable cause for Nicole Chase's arrest.

56.    I am a sworn police officer in the Town of Canton and obligated to
       investigate crimes that occur in my jurisdiction and make arrests when I
       receive credible information that a crime has been committed.

57.    At no time, was my investigation of Nicole Chase's complaint and/or
       decision to submit an affidavit and application for her arrest motivated by
       any animus towards her based upon her gender or any other improper
       consideration.

58.    On at least one occasion, prior to May 7, 2017, while a Patrol Officer with
       the CPD, I responded to Nicole Chase's residence, in 2013, with Officer
       Adam Gompper on a reported domestic incident. As a result of our
       response and investigation of this incident, Chase's boyfriend was
       involuntarily committed and a warrant was applied for, for his arrest. The
       arrest warrant was signed by a prosecutor and judge and Chase's
       boyfriend was arrested.

59.    At all times, my decision to submit an affidavit and application for Nicole
       Chase's arrest and not for Calvin Nodine, was based upon the facts and
       evidence obtained throughout the course of the investigation of police
       case number 1700004762. I determined that there was probable cause to
       believe that Chase had committed a crime while there was not probable
       cause to support that Nodine had. In addition, I determined that Chase
       was not a credible witness.

60.    At all times, I employed my training and experience in conducting
       interviews and interrogations and the questions I asked and the manner in
       which I interviewed Calvin Nodine as well as Nicole Chase was based
       upon this training and experience.

61.    Upon my submission to the State's Attorney's Office, the Affidavit and
       Application for Arrest Warrant was reviewed and executed by both an
       Assistant State's Attorney and a Judge of the Superior Court, who both



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       found there was probable cause to believe the offense of making a false
       statement in the second degree had been committed by Nicole Chase.

62.    A true and accurate copy of the executed warrant returned to the CPD is
       attached to the Defendants' Local Rule 56(a)1 Statement as Exhibit W.

63.    Sometime after I submitted the Affidavit and Application for Arrest
       Warrant to the State's Attorney's Office but before it was returned to the
       CPD, Nicole Chase presented to the department with copies of text
       messages I had previously asked her to provide me with.

64.    A police dispatcher asked me if I wanted to see Nicole Chase. At the time,
       I was in a meeting related to another investigation and did not have any
       need to speak with Chase, so I advised the dispatcher that I did not need
       to see her. I had previously reviewed the text messages, between Chase
       and Jeremy Archer, on Chase's cellphone at her interview on June 21,
       2019.

65.    The copies of the text messages Chase left at the department were placed
       in the police case file. A true and accurate copy of the text messages
       maintained in the file is attached to the Defendants' Local Rule 56(a)1
       Statement as Exhibit T.

66.    Subsequently, I received e-mails from Nicole Chase in which she stated
       that she wished to "revise" her written statement and attached
       "supplemental information" she wished to add to the statement. True and
       accurate copies of the e-mails and the attachment are attached to the
       Defendants' Local Rule 56(a)1 Statement as Exhibit U.

67.    I did not forward Nicole Chase's attachment to the State's Attorney's
       Office or attempt to advise the reviewing prosecutor of Chase's wish to
       add to her statement because it was not a statement given under oath and
       it was not exculpatory evidence.

68.    I did not ask Chase to come in and provide a supplemental statement
       because the information she wished to add was inculpatory and would be
       something to be pursued if the prosecutor decided to prosecute the case.




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69.     Nicole Chase was arrested on September 8, 2017, and subsequently
        released on a $2,500.00 dollar non-surety bond.




        Dated at Canton, Connecticut, on this 1st day of October, 2019.




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STATE OF CONNECTICUT
                                 )        ss: Hartford
COUNTY OF HARTFORD               )


        Subscribed and sworn to before me on this 1st day of October, 2019.



                                          ~~Lt Q _ CN..tAf\°=
                                          Michelle A. Oliveira
                                          Notary Public
                                          My commission expires: 05/31/2023



                                                         Mltbelle A. Oliveira
                                                         Notary PubJlc
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                                                My Commmion Exp. May. Jt 2£222,




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